        Case 8-17-77690-reg                  Doc 44         Filed 09/11/18            Entered 09/11/18 12:59:22




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                                                                         September 11, 2018



Hon. Robert E. Grossman
U.S. Bankruptcy Court
Alfonse M D’Amato US Courthouse,
560 Federal Plaza
Central Islip, NY 11722-4456

          Re:       In re: Vincent Dicanio Qualified Personal Residence Trust –
                    Case No. 17-77690 (REG)

Honorable Judge:

I am writing to withdraw with prejudice the following matters, now on the September 12, 2018
calendar:

     a) Motion to Approve Disclosure Statement and related filings (ECF Docket Nos. 16, 17, 26
        and 27)

     b) Motion for Sale of Property under Sec. 363(b) Located at 1 Pine Point, Nissequogue, New
        York (ECF Docket No. 35); and

     c) Motion to Authorize/Direct Appointment of Classic Realty, Inc. as Real Estate Broker
        (ECF Docket No. 36)




    RATTET PLLC  ∙  202 Mamaroneck Avenue  ∙  Suite 300  ∙  White Plains, New York 10601  ∙  Phone 914.381.7400  ∙  Fax 914.381.7406 
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Hon. Robert E. Grossman 
U.S. Bankruptcy Court 
September 11, 2018 
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If you have any comments and/or questions, or require a Chambers Copy of an unmarked
Disclosure Statement please contact the undersigned.



                                                Very truly yours,


                                                /s/ James B. Glucksman

JBG

cc:     Stanley Yang, Esq.
        Via Email [stan.y.yang@usdoj.gov]

        Jonathan Schwalb, Esq.
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